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                                                                  #453

QAO 245B      (Rw.1203) Judment in acriminal Case




                      SOUTHERN                                   District of                                    ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                  GARY W. FARMER
                                                                         Case Number: 4:4YCR40010-010-JPG

                                                                         USM N u m b e ~ 0 6 6 5 5 - 0 2 5                          &



                                                                         Defendant's Attorney
THE DEFENDANT:
d pleaded guilty to count(s)       1 of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on counys)
   after a plea of not guilty.
                                                                                                                                                "

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended             Count
                        ..         .    >           ,                                                                    .". '. . , .. .;I... ;,
                                              ti                                                                       G ;,?. . . .,
                                                                                                                               ,    , ..J . . ...:.'
                                                                                                                                          ":+  =,.

                                  Intent to Distribute 500 Grams or More of a Mixture and



       The defendant is sentenced as provided in pages 2 through               9            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                is        are dismissed on the motion of the United States.

          It is ordcred t h ~ thet dciendant must notif! thr. L'nitcJ States attome) 1i1rthtsdistr~itaithin 30 Jw:. t~l'anychangcol'namc, residence,
or mailmg address until 311 lines, restitution, costs. and ,pcciui xssssmcnts imposed hy this judgment are iull) paid. lfordercd ICI pa) restitution,
the dr.lknJant must n t ~ t i i ) the coun anJ llnited Stutc, uuornc). dimateri.d change\ tn economlc circumstances.




                                                                         J. Phil Gilbert, District Judge
                                                                         Name and        tle of Judge
                                                                                    ?I
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A 0 2458       (Rev. IU03)Judgment in Criminal Case
               Sheet 2 -Imprisonment
t
 DEFENDANT: GARY W. FARMER
 CASE NUMBER: 4:0gZR40010-010-JPG

                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total tenn of:
 240 months of Count 1 of the Indictment.




     d The court makes the following recommendations to the Bureau of Prisons:
 That the defendant b e placed in the Intensive Drug Treatment Program.




     4 The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

           0     at                                     a.m.     0 p.m.       on
                 as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 a                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                             BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 245B   (Rev. 12103) Judgment in a Crlrnlnal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment-Page   4 of             R
DEFENDANT: GARY W. FARMER
CASE NUMBER: 4:WCR40010-010-JPG

                                          SPECIAL CONDITIONS OF SUPERVISION
    The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of supervised release. The defedant shall pay the fine in installments of $10.00 per month or
  ten percent of his net monthly income, whichever is greater.

    The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
  with access to any requested financial information. The defendant is advised that the probation office may share financial
  information with the Financial Litigation Unit.

    The defendant shall apply all monies received from income tax refunds, lottery winnings, judgmnts, and/or any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. the defendant shall
  immediately notify the probation officer of the receipt of any indicted monies.

    The defendant shall particiapte as directed and approved by the probation officer in treatment for narcotic addiction, drug
  dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
  cresidence and/or participation in a residential tretment facility. Any participation will require complete abstinence from all
  alcohlic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
  based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
  costs of counseling.

    The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
  time as the defendant is released from the Droaram
  domestic violence and anger management.
                                              .                                       .
                                                      bv the rob at ion officer.. to s~ecificallv
                                                                                                address issues surroundina-
   The defendant shall participate in the Thinking for a Change Cognitive Skills Program, as directed by the probatio officer,
  until such time as the defendant is released from the probation officer.

    The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
  conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
  reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
  may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
  search pursuant to this condition.
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AO 2458      (Rev 12/03) Judgment ha Criminal Case
             Sheet 3 -Supervised Release
                                                                                                          Judgment-Page            of         Y
DEFENDANT: GARY W. FARMER
CASE NUMBER: 4:ClSR40010-010-JPG
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall he on supervised release for a term o f :
  10 years on Count 1 of t h e Indictment.




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pr~sons.
 The defendant shall not commit another federal, state or local crime.


 thereafter, as determined by the court.
        The above dmg testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicahle.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicahle.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicahle.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicahle.)
     if this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled suhstances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the profation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the rohatioo officer, the defendant shall notify third partiesof risks that may he occasioned by the defendant's criminal
          record or           history or characterlstlcs and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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A 0 2458   (Rev 12/03)Judement in &CriminalCase


 DEFENDANT: GARY W. FARMER
 CASE NUMBER: 4:wR40010-010-JPG
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                                               Restitution
 TOTALS           % 100.00                                                                                 % 0.00


     The determination of restitution is deferred until   -An Amended Judgment in a Criminal Case ( A 0 24%) will he entered
                                                                   ,

     afier such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment c o l u m n b o w . However, pursuant to 18 Lh3.8. g 3664&, all nonfederel vlctims must be p a d
     before the United States is paid.

 Namc of Pavcc                                                          JaalhS"               Uestituliun Ordered     Priority o r P e r r c n t a g




TOTALS                                                      0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      6 the interest requirement is waived for the            fine          restitution.
           the interest requirement for the         fine           restitution is modified as follows:


 *Findings for the totalamount of losses are re uiredunder Chapters 109A, 110, 1 IOA, and 113Aof Title 18 for offenses cornminedon or after
 September 13, 1994, but before April 23, 199%.
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A 0 2458   (Rev. IU03)ludgmentin a Criminal Case
           Sheet 6 -Schedule of Payments
                                                                                                        Judgment-Page    1of                 9
 DEFENDANT: GARY W. FARMER
 C A S E N U M B E R : 4:OSCR40010-010-JPG

                                                   SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A         Lump sum payment of $                             due immediately, balance due

                 not later than                                  , Or
           q     in accordance         q C,          D,           E, or         F below; or

 B         Payment to begin immediately (may be combined with             OC,          D, or        F below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:

           While on supervised release, t h e defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater.




 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



 q    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount.
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 q    The defendant shall forfeit the defendant's interest in the following property to the United States:




Paymenjs shall be applied in,the fol!owing order: (I assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
                                                      1.
(5) fine mnte~est,(6) communcty restltutlon, (7) pena t ~ e sand
                                                             , (8) costs, includmg cost of prosecut~onand court costs.
